                             UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF NEW YORK


    In re:                                                          Chapter 11

    THE DIOCESE OF BUFFALO, N.Y.,                                   Case No. 20-10322 (CLB)

                    Debtor.


       COVER SHEET TO THIRD INTERIM FEE APPLICATION OF PACHULSKI
         STANG ZIEHL & JONES LLP FOR COMPENSATION FOR SERVICES
          RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED AS
      COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
    OF THE DEBTOR FOR THE PERIOD JUNE 1, 2021 THROUGH JANUARY 31, 2022

Name of Applicant:                                           Pachulski Stang Ziehl & Jones LLP (“PSZJ”)

Authorized to Provide Professional Services to:              The Official Committee of Unsecured
                                                             Creditors of the Debtor

Date of Order Authorizing Employment:                        Order entered June 3, 2020 [Doc 359]
                                                             effective as of March 12, 2020

Period for Which Compensation is Sought:                     June 1, 2021 - January 31, 2022 (the “Third
                                                             Compensation Period”)

Amount of Fees Sought:                                       $456,591.001

Amount of Expense Reimbursement Sought:                      $   6,563.65

This is PSZJ’s Third Interim fee application.

    Blended Rate in this Application for All               $700.97
    Attorneys:
    Blended Rate in this Application for All               $600.35
    Timekeepers:
    Compensation Sought in this Application                $0.00
    Already Paid Pursuant to a Monthly
    Compensation Order but Not Yet Allowed:
    Compensation Sought in this Application Not            $456,591.00
    Paid Pursuant to a Monthly Compensation
    Order:

1
  This amount includes a total voluntary write-off of $2,975.00. This reduction consists of reductions to the June
2021 and July 2021 bills due to rate charged for William L. Ramseyer. In addition, there was a voluntary write-off
to the June 2021 bill. This reduction is reflected throughout the Application.


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    Expenses Sought in this Application Already           $0.00
    Paid Pursuant to a Monthly Compensation
    Order but Not Yet Allowed:
    Expenses Sought in this Application Not Paid          $6,563.65
    Pursuant to a Monthly Compensation Order:

                      PRIOR STATEMENTS AND APPLICATIONS FILED

      Date          Period Covered            Requested           Requested          Approved            Approved
      Filed                                      Fees             Expenses             Fees              Expenses
                 03/12/20 – 04/30/20          $109,192.50           $ 625.07
                 05/01/20 – 05/21/20          $152,307.50           $ 578.14
                 06/01/20 – 06/30/20          $ 41,562.50           $1,006.09
                 07/01/20 – 07/31/20          $ 51,502.50           $1,349.12
                 08/01/20 – 08/31/20          $ 33,130.00           $ 247.58
                   First Interim Fee                                                $382,607.502            $3,806.00
                Application Covering
                 First Compensation
                Period March 12, 2020
                            –
                   August 31, 2020
                 09/01/20 – 09/30/20            $55,065.00           $1,591.25
                 10/01/20 – 10/31/20            $54,250.00             $596.17
                 11/01/20 – 11/30/20            $69,320.00             $965.47
                 12/01/20 – 12/31/20            $53,405.00           $2,405.97
                 01/01/21 – 01/31/21            $55,697.00             $882.78
                 02/01/21 – 02/28/21            $55,622.00             $509.99
                 03/01/21 – 03/31/21            $32,659.50             $555.35
                 04/01/21 – 04/30/21            $18,006.50             $514.72
                 05/01/21 – 05/31/21            $18,814.50             $500.00
                 Second Interim Fee                                                  $412,839.50            $8,520.71
                Application Covering
                Second Compensation
                 Period September 1,
                  2020 - May 31, 20,
                          2021




2
  In the Court Order approving the First Interim Fee Application, the Court approved $382,607.50 in fees which
reflects a reduction of $1,562.50.


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                                   INVOICE ABBREVIATIONS KEY

             Abbreviation                                           Definition
               (NY)AG                                      New York Attorney General
                 AVP                                          Adversary Proceeding
                 BSK                                      Bond, Schoeneck & King PLLC
                 POC                                              Proof of Claim
                 SCC                          State Court Counsel representing Committee member(s)
                  TC                                              Telephone Call


                                  I.        PSZ&J PROFESSIONALS

    Name of Professional         Position of the Applicant,                 Hourly    Total    Total
        Individual               Number of Years in that                 Billing Rate Hours Compensation
                                 Position, Prior Relevant                 (including Billed
                               Experience, Year of Obtaining               Changes)
                                License to Practice, Area of                (Rates
                                         Expertise                        capped at
                                                                         $700/hour)
    James I. Stang             Partner 1983; Member of CA                     $700.00  1.60   $ 1,120.00
                               Bar since 1980
    Iain A.W. Nasatir          Partner 1999; Member of NY                      $700.00       10.50        $   7,350.00
                               Bar since 1983 Member of CA
                               Bar since 1990
    William L. Ramseyer        Of Counsel 1989; Member of                      $850.00      10.50         $ 8,925.00
                               CA Bar since 1980                               $700.00       0.20         $    140.00
    Ilan D. Scharf             Partner 2010; Member of NY                      $700.00     291.80         $204,260.00
                               Bar since 2002
    Brittany M. Michael        Of Counsel 2020; Member of                      $700.00      55.00         $ 38,500.00
                               MN Bar since 2015; Member of                    $695.00     203.80         $141,641.00
                               NY Bar since 2019
    La Asia Canty              Paralegal                                       $300.00       5.20         $ 1,560.00
    Cheryl A. Knotts           Paralegal                                       $300.00       6.70         $ 2,010.00
    Nancy P.F. Lockwood        Paralegal                                       $300.00      33.70         $ 10,110.00
    Nancy H. Brown             Legal Assistant                                 $300.00      20.00         $ 6,000.00
    Sophia L. Lee              Legal Assistant                                 $300.00     126.50         $ 37,950.00

                                         Grand Total:         $456,591.003
                                         Total Hours:              765.50
                                         Blended Rate:           $600.35



3
  This amount includes a total voluntary write-off of $2,975.00. This reduction consists of reductions to the June
2021 and July 2021 bills due to rate charged for William L. Ramseyer. In addition, there was a voluntary write-off
to the June 2021 bill. This reduction is reflected throughout the Application.


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                             II.          COMPENSATION BY CATEGORY

         Project Categories                      Total Hours                           Total Fees
    Asset Analysis/Recovery                                        11.60                      $ 8,106.00
    Asset Disposition                                               5.00                      $ 3,500.00
    Bankruptcy Litigation                                          53.70                      $ 36,440.00
    Case Administration                                             6.60                      $ 4,605.00
    Claims Admin./Objections                                      496.90                      $277,977.00
    Compensation of Professional                                   26.90                      $ 16,578.00
    General Creditors Committee                                    30.50                      $ 21,291.00
    Hearing                                                        19.40                      $ 13,539.50
    Insurance Coverage                                             49.90                      $ 32,707.00
    Mediation                                                      27.70                      $ 18,768.50
    PSZ&J Compensation                                              0.30                      $    208.50
    Stay litigation                                                35.00                      $ 24,445.50
    Written-Off4                                                    2.00                      $ 1,400.00


                                   III.       EXPENSE SUMMARY

       Expense Category                              Service Provider                             Total
                                                      (if applicable)5                           Expenses
    Conference Call                 Loop Up                                                       $    1.34
    Outside Services                Everlaw                                                       $2,000.00
    Court Research                  Pacer                                                         $ 57.60
    Postage                         US Mail                                                       $ 536.21
    Reproduction Expense                                                                          $2,409.60
    Reproduction/Scan Copy                                                                        $ 58.90
    Research                        Everlaw                                                       $1,500.00




The total time expended in connection with the preparation of this application is not included
herein, as additional time was expended after the Third Compensation Period.


4
  This amount has been reduced from the total amount of fees requested in the 3rd Interim Fee Application.
5
  PSZ&J may use one or more service providers. The service providers identified herein below are the primary
service providers for the categories described.


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                              Respectfully submitted,

                              PACHULSKI STANG ZIEHL & JONES LLP
Dated: April 25, 2022           /s/ Ilan D. Scharf
                              James I. Stang, Esq. (admitted pro hac vice)
                              Ilan D. Scharf, Esq.
                              Brittany M. Michael, Esq.
                              780 Third Ave., 34th Floor
                              New York, NY 10017
                              Telephone: (212) 561-7700
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                              E-mail: jstang@pszjlaw.com
                                      isharf@pszjlaw.com
                                      bmichael@pszjlaw.com

                              Counsel for the Official Committee of Unsecured Creditors




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                               UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF NEW YORK


 In re:                                                         Chapter 11

 THE DIOCESE OF BUFFALO, N.Y.,                                  Case No. 20-10322 (CLB)

                      Debtor.


            THIRD INTERIM FEE APPLICATION OF PACHULSKI
       STANG ZIEHL & JONES LLP FOR COMPENSATION FOR SERVICES
        RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED AS
    COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
  OF THE DEBTOR FOR THE PERIOD JUNE 1, 2021 THROUGH JANUARY 31, 2022

                 Pachulski Stang Ziehl & Jones LLP. (“PSZJ” or the “Firm”), counsel to the

Official Committee of Unsecured Creditors (the “Committee”) of The Diocese of Buffalo, N.Y.

(the “Debtor”), hereby submits its Third Interim fee application, pursuant to 11 U.S.C. §§ 330

and 331 and Rule 2016 of the Federal Rules of Bankruptcy Procedure, for (a) allowance of

interim compensation for professional services performed by PSZJ for the period commencing

June 1, 2021 through January 31, 2022 (the “Third Compensation Period”) in the amount of

$456,591.00, and (b) reimbursement of its actual and necessary expenses in the amount of

$6,563.65 incurred during the Third Compensation Period, on the following grounds:

                                            I.    JURISDICTION

                 1.          The Court has jurisdiction over this application pursuant to 28 U.S.C. §§

157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

                 2.          Venue is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.




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                 3.          The statutory predicates for relief requested are sections 330 and 331 of

Title 11 of the United States Code (the “Bankruptcy Code”) and Rule 2016 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                           II.    BACKGROUND

                 4.          On February 28, 2020 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code. The Debtor remains in possession

of its property and continues to operate and maintain its organization as a debtor-in-possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                 5.          On March 12, 2020, the United States Trustee appointed the Committee,

pursuant to section 1102 of the Bankruptcy Code.

                 6.          On or about April 6, 2020, PSZJ filed its application seeking to be

employed in this case (“Retention Application”). As set forth in the declaration of James I.

Stang in support of the Retention Application, due to the unique circumstances of this case, PSZJ

proposed to charge hourly rates which are below its regular hourly rates, specifically, to charge

its normal and customary hourly rates, subject to a cap of $700 per hour and not to charge for

travel time. On June 3, 2020, the Court entered its Order Authorizing and Approving the

Employment of Pachulski Stang Ziehl & Jones LLP as Counsel to the Official Committee of

Unsecured Creditors of the Debtor Effective as of March 12, 2020 (the “Retention Order”)

[Doc 359], authorizing the employment of PSZJ as counsel to the Committee effective as of

March 12, 2020. The Retention Order authorized PSZJ to apply for compensation for

professional services rendered and reimbursement of expenses as set forth in the Retention



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Application, subject to the Bankruptcy Code, Bankruptcy Rules, Local Rules, and any other

applicable procedures and orders of this Court.

                   7.        PSZJ did not receive a retainer in connection with its employment and, to

date, has only received compensation for services and reimbursement of expenses pursuant to the

Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

Professionals and Members of Official Committees (the “Interim Compensation Order”) [Doc

362].

                   8.        Copies of PSZJ invoices for the Third Compensation are attached hereto

as Exhibits A to G and are incorporated herein by reference for all purposes.

        Summary of Services Rendered by PSZJ During the Third Compensation Period

                   9.        During the Third Compensation Period, PSZJ has rendered numerous,

varied and substantial services to the Committee in connection with this case, including but not

limited to:

              A.         Asset Analysis and Recovery

                   10.       This category relates to work regarding asset analysis and recovery issues.

Services related to asset analysis are of utmost importance in this case because the extent, nature

and value of assets available to compensate creditors were unknown at the beginning of this case.

During the Third Compensation Period, the Firm, among other things: (1) reviewed and

analyzed insurance issues at the parish level; (2) performed work regarding preparing documents

for Committee review; (3) performed work regarding a letter concerning expenditures at

Annunciation and St. Gregory; (4) reviewed and analyzed the Debtor’s document productions;



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(5) reviewed and analyzed financial discovery issues; and (6) conferred and corresponded

regarding asset analysis and recovery issues.

                  Fees: $8,106.00;          Hours: 11.60

             B.         Asset Disposition

                  11.        This category relates to work regarding sales and other asset disposition

issues. During the Third Compensation Period, the Firm, among other things: (1) performed

work regarding a letter concerning the sale of St. Ann’s parish; (2) reviewed and analyzed

valuation issues regarding the sale of St. Ann’s parish; and (3) corresponded regarding asset

disposition issues.

                  Fees: $3,500.00;          Hours: 5.00

             C.         Bankruptcy Litigation

                  12.        This category relates to work regarding motions or adversary proceedings

in the Bankruptcy Court. During the Third Compensation Period, the Firm, among other things:

(1) performed work regarding a motion to compel production of documents; (2) reviewed and

analyzed the bar date order regarding potential breach by defense counsel; (3) prepared for and

attended a teleconference on September 30, 2021 with State Court Counsel regarding Diocesan

Review Board requests; (4) prepared for and attended a telephonic conference on October 12,

2021 with State Court Counsel regarding the Connors firm disclosure of proof of claim

information; (5) reviewed and analyzed issues regarding sanctions for disclosure of confidential

information; (6) performed research; (7) reviewed and analyzed issues regarding identified

perpetrators returned to ministry; (8) reviewed and analyzed a potential settlement regarding a



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slip and fall case; (9) reviewed and analyzed the bar date order regarding a request to amend by

the Diocese; (10) reviewed and analyzed claimant disclosure notices; (11) reviewed and analyzed

Diocesan child protection protocols; (12) reviewed and analyzed Diocesan Review Board

policies; (13) prepared for and attended a telephonic conference with State Court Counsel on

December 3, 2021 regarding Diocesan Review Board issues; (14) performed work regarding an

objection to the Diocese disclosure motion; (15) performed work regarding an objection to the

Diocese motion to sell AB Walsh High School; and (16) corresponded and conferred regarding

bankruptcy litigation issues.

                  Fees: $36,440.00;         Hours: 53.70

             D.         Case Administration

                  13.        This category relates to work regarding administration of this case.

During the Third Compensation Period, the Firm, among other things: (1) prepared for and

participated in teleconferences with the Debtor’s counsel regarding case issues; (2) reviewed and

analyzed issues regarding mediators; (3) reviewed and analyzed issues regarding parish

stipulation; (4) attended to status conference issues; and (5) conferred regarding case

administration issues.

                  Fees: $4,605.00;          Hours: 6.60

             E.         Claims Administration and Objections

                  14.        This category relates to work regarding claims administration and claims

objections, including work related to bar date issues, claim forms and the notice process. During

the Third Compensation Period, the Firm, among other things: (1) reviewed and analyzed issues



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regarding CVA documents; (2) reviewed and analyzed sexual abuse claims and prepared a

related chart; (3) reviewed and analyzed claim-related insurance issues; (4) reviewed and

analyzed issues regarding claims access; (5) prepared discovery requests related to the proof of

claim disclosure motion; and (6) conferred regarding claim issues.

                    Fees: $277,977.00;      Hours: 496.90

               F.         Compensation of Professionals1

                    15.      This category relates to issues regarding the compensation of the Firm.

During the Third Compensation Period, the Firm, among other things: (1) performed work

regarding the Firm’s Second interim fee application; (2) attended to scheduling issues; and

(3) corresponded and conferred regarding compensation issues.

                    Fees: $16,786.50;       Hours: 27.20

               G.         General Creditors Committee

                    16.      This category relates to work performed with respect to the Committee

and correspondence and discussion with Committee members and their individual counsel

regarding the chapter 11 case. During the Third Compensation Period, the Firm, among other

things: (1) responded to inquiries from claimants and State Court Counsel regarding case issues;

(2) prepared for and participated in telephonic conferences with the Committee regarding case

issues; (3) reviewed and analyzed mediation issues; (4) reviewed and analyzed statute of

limitations issues; (5) reviewed and analyzed issues regarding constitutionality; (6) reviewed and

analyzed issues regarding mediator selection; (7) prepared for and participated in telephonic



1
    This category includes time from the PSZ&J Compensation category.


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meetings with State Court Counsel regarding case issues; (8) performed work regarding agenda

for Committee meetings; (9) reviewed and analyzed issues regarding a motion to compel

stipulation; and (10) conferred and corresponded regarding Committee issues.

                  Fees: $21,291.00;         Hours: 30.50

             H.         Hearings

                  17.        This category relates to preparation for and attendance at hearings.

During the Third Compensation Period, the Firm, among other things: (1) prepared for and

attended a hearing on June 14, 2021 regarding the Debtor’s professionals’ fees; (2) prepared for

and attended an adversary proceeding status conference on July 28, 2021; (3) prepared for and

attended a hearing on September 24, 2021 regarding a stay extension motion; (4) prepared and

attended a hearing on November 17, 2021 regarding a mediation motion; (5) prepared for and

attended a hearing on December 13, 2021 regarding motion scheduling issues; and (6) prepared

for and attended a hearing on January 28, 2021 regarding a motion to compel deadlines.

                  Fees: $13,539.50;         Hours: 19.40

             I.         Insurance Coverage

                  18.        This category relates to insurance coverage issues. During the Third

Compensation Period, the Firm, among other things: (1) prepared for and attended an insurance

adversary proceeding scheduling conference on June 2, 2021; (2) reviewed and analyzed

mediator selection issues; (3) performed work regarding an insurance analysis and coverage

charts; (4) performed work regarding a motion to intervene in insurance adversary proceedings;

(5) reviewed and charted sexual abuse claims; (6) reviewed and analyzed issues regarding a



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parish level insurance review; (7) reviewed and analyzed a parish insurance chart; (8) reviewed

and analyzed issues regarding parish liability; and (9) corresponded and conferred regarding

insurance issues.

                  Fees: $32,707.00;         Hours: 49.90

             J.         Mediation

                  19.        This category relates to mediation issues. During the Third

Compensation Period, the Firm, among other things: (1) reviewed and analyzed mediation

process issues; (2) reviewed and analyzed issues regarding mediator candidates; (3) prepared for

and met with potential mediators; (4) prepared for and attended a telephonic conferences with

State Court Counsel regarding mediation issues; (5) performed work regarding a memorandum

to the Committee regarding mediation issues; (6) prepared for and participated in a telephonic

conference on October 28, 2021 with the Committee regarding mediation issues; (7) performed

work regarding a statement concerning mediation motion; (8) performed work regarding a letter

to the Court relating to mediator selection; and (9) conferred and corresponded regarding

mediation issues.

                  Fees: $18,768.50;         Hours: 27.70

             K.         Stay Litigation

                  20.        This category relates to work regarding the automatic stay and relief from

stay motions. During the Third Compensation Period, the Firm, among other things:

(1) performed work regarding revisions to the parish stipulation; (2) performed work regarding

extensions of parish stipulation; (3) prepared for and attended telephonic conferences with State



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Court Counsel regarding parish stay issues; (4) reviewed and analyzed issues regarding stay

defendants; (5) reviewed and analyzed a motion to extend the parish stay; (6) drafted a statement

in support of preliminary injunction; (7) reviewed and analyzed the Lipsitz objection to stay

extension; (8) prepared for a hearing on a motion to extend parish stay; (9) reviewed and

analyzed issues regarding service of a complaint against Diocesan affiliate; (10) reviewed and

analyzed Diocesan Educational Campus issues; (11) reviewed and analyzed issues regarding the

Sisters of Good Shepherd motion for stay extension; (12) performed work regarding an objection

to the Sisters of Good Shepherd motion to extend stay; (13) attended to scheduling issues; and

(14) corresponded and conferred regarding stay litigation issues.

                 Fees: $24,445.50;          Hours: 35.00

                 21.         The above-referenced description of services is not intended to be

exhaustive of the scope of PSZJ’s services rendered on behalf of the Committee. A full

accounting of all services rendered on behalf of the Committee during the Third Compensation

Period is contained in the related time records attached hereto as Exhibits A to G.

                 22.         As contained in the attached time records, PSZJ has expended a total of

765.50 hours during the Third Compensation Period representing the Committee in this case.

The value of the services rendered to the Committee by PSZJ is $456,591.00 and PSZJ has

incurred actual and necessary out-of-pocket expenses in the amount of $6,563.65 during the

Third Compensation Period in connection with such professional services.




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                                       III.   RELIEF REQUESTED

                 23.         By this application, PSZJ requests entry of an order, substantially in the

form attached as Exhibit H: (a) allowing, on an interim basis, $456,591.00 as compensation for

professional services rendered and $6,563.65 as reimbursement of actual and necessary out-of-

pocket expenses incurred during the Third Compensation Period in connection with such

professional services, and (b) directing the Debtor to pay PSZJ the amount of $463,154.65 for

the total unpaid portion of allowed fees and expenses for the Third Compensation Period.

            Professional Services Rendered During the Third Compensation Period

                 24.         The value of the professional services rendered to the Committee during

the Third Compensation Period has been billed at rates normally charged by PSZJ for

comparable services performed for other clients, subject to a $700/hour cap. The requested fees

in the amount of $456,591.00 are reasonable under the circumstances, and reflect the expertise of

counsel in representing the Committee in this case.

                 25.         PSZJ has attempted to avoid any duplication of services by its

professionals in rendering services. When more than one professional participated in any

conference or hearing, such joint participation was necessary because of the complexity of the

legal issues involved, the various legal disciplines required, or the need to familiarize the

professional with such matters so that he or she could independently perform further essential

services in connection with this case.

                 26.         Each entry itemized in PSZJ’s time records includes (a) use of a project

category (each a “Project Category”), (b) a description of each activity or service that an



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individual performed, and (c) the number of hours (in increments of one-tenth of an hour) spent

by an individual performing the activity or providing service. Attached as Exhibit I is a list of

the aggregate recorded hours, blended rate and fees incurred for each Project Category.

      Actual and Necessary Expenses Incurred During the Third Compensation Period

                 27.         During the Third Compensation Period, PSZJ has incurred actual and

necessary out-of-pocket expenses in the total amount of $6,563.65.

                 28.         PSZJ seeks reimbursement for, among other things, the following types of

expenses: (a) copy expenses; (b) conference calls; (c) online research; (d) delivery services and

couriers; (e) postage; (f) trial transcript costs; (g) travel expenses; and (g) miscellaneous

expenses. Below is a summary of the actual and necessary out-of-pocket expenses incurred on

behalf of the Committee during the Third Compensation Period:

 EXPENSE CATEGORY                                       AMOUNT
 Copy Expense                                                                              $2,468.50
 Conference Call                                                                           $    1.34
 Online Research
       PACER Research                                                                      $ 57.60
       Everlaw                                                                             $3,500.00
 Postage                                                                                   $ 536.21
                                               Total:                                      $6,563.65

All expense entries detailed in PSZJ’s time records include an itemization of the expenses by

category, the date the expense was incurred, and the amount of the expense. The requested

expenses are of the kind customarily charged by PSZJ for similar items in other similar matters.

All expenses were incurred on behalf of the Committee, and all expenses paid to outside vendors

were billed in this case by PSZJ at the rate charged to PSZJ.




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                   IV.       GROUNDS FOR GRANTING RELIEF REQUESTED

                 29.         All of the services for which compensation is requested by PSZJ were

performed for, or on behalf of, the Committee, and not on behalf of the Debtor, any creditor,

examiner, trustee or any other entity. In addition, PSZJ has not entered into any agreements to

fix fees or share compensation as prohibited by 18 U.S.C. §155 and 11 U.S.C. §504.

                 30.         This interim application is made at this time due to the substantial amount

of time devoted on behalf of the Committee during the Third Compensation Period and the

impact that the expenditure of such an amount of time without further compensation will have

upon PSZJ finances if compensation were delayed to a later time. Thus, Applicant respectfully

submits that, pursuant to Local Rule 2016-1 and the Interim Compensation Order, Applicant

should not be required to await the conclusion of this case to request the relief sought in this

interim fee application.

                 31.         As this Application demonstrates, the services that PSZJ has rendered on

behalf of the Committee have been beneficial to the Committee and the Debtor’s estate in that

the services have been utilized to assist the Committee with those matters outlined above.

                 32.         The attorneys primarily responsible for representing the Committee in

connection with this case, James I. Stang and Ilan D. Scharf, have extensive experience in

representing creditors’ committees, and in cases similar to this one.

                 33.         Section 331 of the Bankruptcy Code provides for interim compensation of

professionals and incorporates the substantive standards of section 330 of the Bankruptcy Code

that govern the Court’s award of such compensation. See 11 U.S.C. § 331. Section 330 of the



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Bankruptcy Code provides that a court may award a professional employed under section 327 of

the Bankruptcy Code “reasonable compensation for actual, necessary services rendered . . . and

reimbursement for actual, necessary expenses.” 11 U.S.C. § 330(a)(1)(A)-(B). Section 330 of

the Bankruptcy Code also sets forth the criteria for the award of such compensation and

reimbursement:

        In determining the amount of reasonable compensation to be awarded … the court shall
        consider the nature, the extent, and the value of such services, taking into account all
        relevant factors, including –

              (A) the time spent on such services;

              (B) the rates charged for such services;

              (C) whether the services were necessary to the administration of, or beneficial at the
                  time at which the service was rendered toward the completion of, a case under
                  this title;

              (D) whether the services were performed within a reasonable amount of time
                  commensurate with the complexity, importance, and nature of the problem,
                  issue, or task addressed;

              (E) with respect to a professional person, whether the person is board certified or
                  otherwise has demonstrated skill and experience in the bankruptcy field; and

              (F) whether the compensation is reasonable based on the customary compensation
                  charged by comparably skilled practitioners in cases other than cases under this
                  title.

11 U.S.C. § 330(a)(3).

                 34.         PSZJ has reviewed the requirements of each of the foregoing and believes

that this application is in compliance with such requirements, as applicable.

                 35.         In addition to the foregoing specified services, PSZJ believes that it has

performed further services which are not reflected in the time records. It is impossible to record

the detail of each letter, telephone call, conference time or research. Many such hours have been


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performed to date, but PSZJ is not requesting compensation for them. Further, as set forth

above, PSZJ has capped its hourly rate and is not charging for travel time.

                 36.         All services for which PSZJ seeks compensation, and expenses for which

it seeks reimbursement, were performed on behalf of the Committee and were necessary and

beneficial to the Committee. PSZJ worked diligently to anticipate or respond to the Committee’s

needs and assist in the navigation of this very complex chapter 11 case. The compensation

requested herein is reasonable in light of the nature, extent, and value of such services rendered

to the Committee.

                 37.         In connection with the matters covered by this application, PSZJ received

no payment and no promises of payment for services rendered, or to be rendered, from any

source other than the Debtor’s bankruptcy estate. There is no agreement or understanding

between PSZJ and any other person, other than members of the firm, for the sharing of

compensation received for services rendered in this case.

                                         V.    Valuation of Services

                 38.         Attorneys and paraprofessionals of PSZ&J expended a total 765.50 hours

in connection with their representation of the Committee during the Third Compensation Period,

as follows:




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    Name of Professional           Position of the Applicant,               Hourly    Total    Total
        Individual                 Number of Years in that               Billing Rate Hours Compensation
                                   Position, Prior Relevant               (including Billed
                                 Experience, Year of Obtaining             Changes)
                                  License to Practice, Area of              (Rates
                                           Expertise                      capped at
                                                                         $700/hour)
    James I. Stang              Partner 1983; Member of CA                    $700.00  1.60   $ 1,120.00
                                Bar since 1980
    Iain A.W. Nasatir           Partner 1999; Member of NY                     $700.00       10.50        $   7,350.00
                                Bar since 1983 Member of CA
                                Bar since 1990
    William L. Ramseyer         Of Counsel 1989; Member of                     $850.00      10.50         $ 8,925.00
                                CA Bar since 1980                              $700.00       0.20         $    140.00
    Ilan D. Scharf              Partner 2010; Member of NY                     $700.00     291.80         $204,260.00
                                Bar since 2002
    Brittany M. Michael         Of Counsel 2020; Member of                     $700.00      55.00         $ 38,500.00
                                MN Bar since 2015; Member of                   $695.00     203.80         $141,641.00
                                NY Bar since 2019
    La Asia Canty               Paralegal                                      $300.00       5.20         $ 1,560.00
    Cheryl A. Knotts            Paralegal                                      $300.00       6.70         $ 2,010.00
    Nancy P.F. Lockwood         Paralegal                                      $300.00      33.70         $ 10,110.00
    Nancy H. Brown              Legal Assistant                                $300.00      20.00         $ 6,000.00
    Sophia L. Lee               Legal Assistant                                $300.00     126.50         $ 37,950.00

                                         Grand Total:         $456,591.002
                                         Total Hours:              765.50
                                         Blended Rate:           $600.35

                 39.         To the extent time or disbursement charges for services rendered or

expenses incurred relate to the Third Compensation Period but were not processed prior to the

preparation of this application or PSZJ has for any other reason not yet sought compensation or

reimbursement of expenses herein with respect to any services rendered or expenses incurred

during the Third Compensation Period, PSZJ reserves the right to request compensation for such

services and reimbursement of such expenses in a future application.



2
  This amount includes a total voluntary write-off of $2,975.00. This reduction consists of reductions to the June
2021 and July 2021 bills due to rate charged for William L. Ramseyer. In addition, there was a voluntary write-off
to the June 2021 bill. This reduction is reflected throughout the Application.


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                 40.         In accordance with the factors enumerated in section 330 of the

Bankruptcy Code, it is respectfully submitted that the amount requested by PSZJ is fair and

reasonable given (a) the complexity of the case, (b) the time expended, (c) the nature and extent

of the services rendered, (d) the value of such services, and (e) the costs of comparable services

other than in a case under the Bankruptcy Code. Moreover, PSZJ has reviewed the requirements

of Local Rule 2016 and the Interim Compensation Order signed on or about June 4, 2020 and

believes that this Application complies with such Rule and Order.

                                           VI.        NOTICE

                 41.         Notice of this application is being given to (a) the Debtor, (b) the Debtor’s

counsel, (c) the U.S. Trustee, and (d) those parties who have appeared in this case or have

requested notice pursuant to Bankruptcy Rule 2002.

                 WHEREFORE, PSZJ respectfully requests the Court enter an order,

substantially in the form attached as Exhibit I: (i) allowing, on an interim basis, $456,591.00 as

compensation for professional services rendered and $6,563.65 as reimbursement of actual and

necessary out-of-pocket expenses incurred during the Third Compensation Period in connection

with such professional services; (ii) directing the Debtor to pay PSZJ the amount of $463,154.65

for the unpaid amounts incurred during the Third Compensation Period; (iii) allowing such

compensation for professional services rendered and reimbursement of actual and necessary out-

of-pocket expenses incurred without prejudice to PSZJ’s right to seek additional compensation

for services performed and expenses incurred during the Third Compensation Period, which




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were not processed at the time of this application; and (iv) granting PSZJ all other just and

proper relief.




                                      Respectfully submitted,

                                      PACHULSKI STANG ZIEHL & JONES LLP

Dated: April 25, 2022                    /s/ Ilan D. Scharf
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                                             CERTIFICATION


                 Ilan D. Scharf, hereby declares under penalty of perjury:

                 a)          I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones

LLP (“PSZJ”), and am admitted to appear before this Court.

                 b)          I am familiar with the work performed on behalf of the Committee by the

lawyers and paraprofessionals of PSZJ.

                 c)          I have reviewed the foregoing Application and the facts set forth therein

are true and correct to the best of my knowledge, information and belief. Moreover, I have

reviewed Local Rule 2016 and the Interim Compensation Order signed on or about June 4, 2020

and believe that this Application substantially complies with such Rule and Order.



                                                 /s/ Ilan D. Scharf
                                               Ilan D. Scharf




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